         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 1 of 28




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA



Chemical Toxin Working Group Inc., d/b/a                     Civil Action No. 1:22-cv-01259-RCL
HealthyLivinG Foundation, on behalf of
themselves and all others similarly situated,                DEFENDANTS JOHNSON &
                                                             JOHNSON’S AND JOHNSON &
                               Plaintiff,                    JOHNSON CONSUMER INC.’S
                                                             ANSWER AND AFFIRMATIVE
       vs.                                                   DEFENSES TO PLAINTIFF’S
                                                             COMPLAINT
Johnson & Johnson, and Johnson & Johnson
Consumer Inc.,

                               Defendants.

               Defendants Johnson & Johnson and Johnson & Johnson Consumer Inc., by and

through undersigned counsel, hereby respond to the Complaint of plaintiff Chemical Toxin

Working Group Inc., d/b/a HealthyLivinG Foundation (“HLF”), as follows.

               The Complaint purports to be brought against “Defendant Johnson & Johnson

(‘Johnson & Johnson’ and ‘Johnson & Johnson Consumer Inc.’),” and refers to both entities as

“collectively the ‘Defendant.’” In fact, Johnson & Johnson (“J&J”) and Johnson & Johnson

Consumer Inc. (“JJCI”) are separate corporations. JJCI is the proper defendant, because JJCI

markets the products at issue. JJCI is an indirect, wholly-owned subsidiary of J&J. J&J does not

produce, sell, market or advertise any of the products at issue in this action, and is not a proper

defendant. Accordingly, except where specifically noted, all substantive responses to the

allegations in the numbered paragraphs of the Complaint are made by and on behalf of JJCI. J&J

generally denies that it engaged in any of the activities alleged in the Complaint, and specifically

denies that this Court has personal jurisdiction over it.
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 2 of 28




               Except as otherwise expressly admitted in this Answer, J&J and JJCI deny each

and every allegation contained or implied anywhere in the Complaint whether in the body, titles,

headings, sub-headings, footnotes, or otherwise.

               1.      JJCI admits that, at various times, it has marketed and sold Johnson’s

Baby Bar, 3 Oz; Johnson’s Head-to-Toe Gentle Baby Cleansing Cloths, 15 Count; Johnson’s

Baby Shampoo (27.1 fl. Oz) & (33.8 fl. Oz.); and Johnson’s Head-to-Toe Wash & Shampoo

(27.1 fl. Oz), including in the District of Columbia area. JJCI otherwise denies the allegations in

Paragraph 1.

               2.      JJCI admits that the pictures in Figures 1-4, 11, 30, and 33 appear to

reflect JJCI products or portions of the JJCI website. JJCI avers that the products or portions of

the website in the pictures speak for themselves. JJCI otherwise denies the allegations in

Paragraph 2.

               3.      JJCI admits that the pictures in Figures 31-32 appear to reflect portions of

the JJCI website. JJCI avers that the portions of the website in the pictures speak for themselves.

JJCI otherwise denies the allegations in Paragraph 3.

               4.      JJCI admits that the picture in Figure 35 appears to reflect a portion of the

JJCI website. JJCI avers that the portion of the website in the picture speaks for itself. JJCI

otherwise denies the allegations in Paragraph 4.

               5.      JJCI denies the allegations in Paragraph 5.

               6.      Paragraph 6 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 6.




                                                   2
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 3 of 28




               7.      Paragraph 7 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 7.

               8.      Paragraph 8 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI denies the allegations in

Paragraph 8.

                                         JURISDICTION

               9.      Paragraph 9 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 9.

               10.     Paragraph 10 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 10.

               11.     Paragraph 11 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI maintains that this action was within the

original jurisdiction of the United States District Court for the District of Columbia and that

removal to this Court was proper.

               12.     Paragraph 12 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 12.

                                            PARTIES

A.     Plaintiff HealthyLivinG Foundation Inc.:

               13.     Paragraph 13 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 13.

               14.     Paragraph 14 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 14.

                                                 3
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 4 of 28




               15.    Paragraph 15 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 15.

               16.    Paragraph 16 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 16.

               17.    Paragraph 17 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 17.

               18.    Paragraph 18 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 18.

               19.    JJCI lacks information or knowledge sufficient to admit or deny the

allegations in Paragraph 19 related to HLF’s claimed expenditures. JJCI otherwise denies the

allegations in Paragraph 19.

               20.    Paragraph 20 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 20.

               21.    JJCI denies the allegations in Paragraph 21.

               22.    Paragraph 22 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 22.




                                                4
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 5 of 28




               23.     Paragraph 23 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 23.

B.     Defendant Johnson & Johnson:

               24.     J&J denies that it produces hygiene and baby care products, but admits

that it reported that its indirect, wholly-owned subsidiary made the referenced sales.

               25.     J&J admits the allegations in Paragraph 25.

               26.     JJCI denies that its principal place of business is 1 Johnson & Johnson

Plaza, New Brunswick, NJ 08933. JJCI otherwise admits the allegations in Paragraph 26.

               27.     J&J denies the allegations in Paragraph 27. JJCI admits that, at various

times, it has marketed and sold the referenced products within the United States, including in the

District of Columbia area. JJCI further admits that the referenced products have been sold in

retail stores in the United States and in the District of Columbia area, although JJCI does not

make such sales directly. JJCI otherwise denies the allegations in Paragraph 27.

        OVERVIEW OF HARMFUL PHTHALATE-EXPOSURE IN CHILDREN

               28.     Paragraph 28 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 28.

               29.     Paragraph 29 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 29.

               30.     Paragraph 30 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 30.

                                                 5
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 6 of 28




               31.    Paragraph 31 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 31.

               32.    Paragraph 32 contains no allegations directed to JJCI, and states legal

conclusions; therefore no response is required. To the extent a response is deemed required, JJCI

lacks information or knowledge sufficient to admit or deny the allegations in Paragraph 32.

               33.    Paragraph 33 contains no allegations directed to JJCI, and states legal

conclusions; therefore no response is required. To the extent a response is deemed required, JJCI

lacks information or knowledge sufficient to admit or deny the allegations in Paragraph 33.

               34.    Paragraph 34 contains no allegations directed to JJCI, and states legal

conclusions; therefore no response is required. To the extent a response is deemed required, JJCI

lacks information or knowledge sufficient to admit or deny the allegations in Paragraph 34.

               35.    Paragraph 35 contains no allegations directed to JJCI, and states legal

conclusions; therefore no response is required. To the extent a response is deemed required, JJCI

lacks information or knowledge sufficient to admit or deny the allegations in Paragraph 35.

               36.    Paragraph 36 contains no allegations directed to JJCI, and states legal

conclusions; therefore no response is required. To the extent a response is deemed required, JJCI

lacks information or knowledge sufficient to admit or deny the allegations in Paragraph 36.

               37.    Paragraph 37 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 37.




                                                6
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 7 of 28




A.     Phthalates are Endocrine Disrupting Chemicals that Cause Reproductive Harms:

               38.    Paragraph 38 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 38.

               39.    Paragraph 39 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 39.

               40.    Paragraph 40 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 40.

               41.    Paragraph 41 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 41.

               42.    Paragraph 42 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 42.

               43.    Paragraph 43 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 43.

               44.    Paragraph 44 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 44.




                                                7
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 8 of 28




               45.    Paragraph 45 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 45.

               46.    Paragraph 46 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 46.

               47.    Paragraph 47 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 47.

               48.    Paragraph 48 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 48.

B.     Phthalates are Harmful to Children’s Neurodevelopment:

               49.    Paragraph 49 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 49.

               50.    Paragraph 50 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 50.

               51.    Paragraph 51 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 51.




                                                8
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 9 of 28




               52.    Paragraph 52 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 52.

               53.    Paragraph 53 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 53.

               54.    Paragraph 54 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 54.

               55.    Paragraph 55 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 55.

               56.    Paragraph 56 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 56.

               57.    Paragraph 57 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 57.

               58.    Paragraph 58 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 58.

               59.    JJCI denies the allegations in Paragraph 59.




                                                9
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 10 of 28




               60.     JJCI admits that it sells certain products labeled “no parabens, phthalates

or dyes.” JJCI otherwise denies the allegations in Paragraph 60.

               61.     J&J denies that it has ever produced or sold the products referenced in

Paragraph 61. JJCI admits that it (not J&J) produces and/or has produced the products

referenced in Paragraph 61, and admits that those products are or were sold to consumers

through authorized retailers, including retailers within the District of Columbia area.

               62.     Paragraph 62 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 62.

               63.     Paragraph 63 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 63.

               64.     JJCI denies the allegations in Paragraph 64.

               65.     Paragraph 65 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 65.

               66.     Paragraph 66 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 66.

               67.     Paragraph 67 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 67.

               68.     Paragraph 68 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 68.

               69.     Paragraph 69 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 69.



                                                10
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 11 of 28




               70.    Paragraph 70 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 70.

               71.    Paragraph 71 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 71.

               72.    Paragraph 72 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 72.

               73.    Paragraph 73 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 73.

               74.    Paragraph 74 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 74.

               75.    Paragraph 75 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 75.

               76.    Paragraph 76 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 76.

               77.    Paragraph 77 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 77.

               78.    JJCI admits that the pictures in Figures 1-4 appear to be pictures of JJCI

products. JJCI avers that the pictures speak for themselves. JJCI otherwise lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 78.

               79.    Paragraph 79 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 79.




                                               11
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 12 of 28




                80.    Paragraph 80 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 80.

                81.    Paragraph 81 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 81.

                82.    Paragraph 82 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 82.

                83.    JJCI lacks information or knowledge sufficient to admit or deny the

allegations in Paragraph 83.

                84.    Paragraph 84 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 84.

                85.    Paragraph 85 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 85.

                86.    JJCI admits that the quotations in Paragraph 86 appear to reflect portions

of JJCI’s website. JJCI avers that the quoted portions of the website speak for themselves. JJCI

otherwise denies the allegations in Paragraph 86.

                87.    JJCI admits that, as a general matter, shoppers may consider the safety and

well-being of their children and family members when making purchase decisions. JJCI

specifically avers that the products at issue here are safe. JJCI otherwise denies the allegations in

Paragraph 87.




                                                 12
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 13 of 28




               88.     Paragraph 88 contains terms such as “distinctly vulnerable,” “delicate”

and “immature” that are undefined and too vague to enable JJCI to provide a substantive

response. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

88.

               89.     JJCI denies the allegations in Paragraph 89.

               90.     JJCI denies the allegations in Paragraph 90.

               91.     JJCI admits that it markets and/or has marketed the products specified in

Paragraph 91 as containing no phthalates.

               92.     Paragraph 92 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 92.

               93.     Paragraph 93 contains legal conclusions to which no response is required.

To the extent a response is deemed required, JJCI denies the allegations in Paragraph 93.

               94.     JJCI admits that the pictures in Figures 5 and 6 appear to reflect portions

of the JJCI website. JJCI avers that the portions of the website in the pictures speak for

themselves. JJCI otherwise denies the allegations in Paragraph 94.

               95.     JJCI denies that it has made any express claims on the website of CVS, an

independent third-party retailer. JJCI otherwise lacks information or knowledge sufficient to

admit or deny the allegations in Paragraph 95.

               96.     JJCI admits that the pictures in Figures 12-14 appear to reflect portions of

the JJCI website. JJCI avers that the portions of the website in the pictures speak for themselves.

JJCI otherwise denies the allegations in Paragraph 96.




                                                 13
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 14 of 28




               97.     JJCI denies that it has made any express claims on the website of

Walmart, an independent third-party retailer. JJCI otherwise lacks information or knowledge

sufficient to admit or deny the allegations in Paragraph 97.

               98.     JJCI denies that it has made any express claims on the website of Amazon,

an independent third-party retailer. JJCI otherwise lacks information or knowledge sufficient to

admit or deny the allegations in Paragraph 98.

               99.     JJCI denies that it has made any express claims on the website of Target,

an independent third-party retailer. JJCI otherwise lacks information or knowledge sufficient to

admit or deny the allegations in Paragraph 99.

               100.    JJCI admits that the pictures in Figures 19-22 appear to reflect portions of

the JJCI website. JJCI avers that the portions of the website in the pictures speak for themselves.

JJCI otherwise denies the allegations in Paragraph 100.

               101.    JJCI denies that it has made any express claims on the website of Target,

an independent third-party retailer. JJCI otherwise lacks information or knowledge sufficient to

admit or deny the allegations in Paragraph 101.

               102.    JJCI admits that the picture in Figure 4 appears to be of a JJCI product.

JJCI avers that the product in the picture speaks for itself. JJCI otherwise denies the allegations

in Paragraph 102.

               103.    JJCI denies that it has made any express claims on the website of Amazon,

an independent third-party retailer. JJCI otherwise lacks information or knowledge sufficient to

admit or deny the allegations in Paragraph 103.




                                                  14
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 15 of 28




               104.    Paragraph 104 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

104.

               105.    Paragraph 105 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

105.

               106.    JJCI admits that the picture in Figure 30 appears to reflect a portion of the

JJCI website. JJCI avers that the portion of the website in the picture speaks for itself. JJCI

otherwise denies the allegations in Paragraph 106.

               107.    JJCI admits that the pictures in Figures 31-32 appear to reflect portions of

the JJCI website. JJCI avers that the portions of the website in the pictures speak for themselves.

JJCI otherwise denies the allegations in Paragraph 107.

               108.    JJCI admits that the picture in Figure 33 appears to reflect a portion of the

JJCI website. JJCI avers that the portion of the website in the picture speaks for itself. JJCI

otherwise denies the allegations in Paragraph 108.

               109.    JJCI admits that the pictures in Figures 34-35 appear to reflect portions of

the JJCI website. JJCI avers that the portions of the website in the pictures speak for themselves.

JJCI otherwise denies the allegations in Paragraph 109.

               110.    JJCI denies the allegations in Paragraph 110.

               111.    JJCI denies the allegations in Paragraph 111.

               112.    JJCI admits that the pictures in Figures 30-35 appear to reflect portions of

the JJCI website. JJCI avers that the portions of the website in Figures 30-35 speak for

themselves. JJCI otherwise denies the allegations in Paragraph 112.



                                                 15
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 16 of 28




               113.    JJCI denies the allegations in Paragraph 113.

               114.    Paragraph 114 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

114.

               115.    JJCI admits that the pictures in Figures 11, 30, 33, and 35 appear to reflect

portions of the JJCI website. JJCI avers that the portions of the website in the pictures speak for

themselves. JJCI otherwise denies the allegations in Paragraph 115.

               116.    JJCI admits that the pictures in Figures 32 and 34 appear to reflect

portions of the JJCI website. JJCI avers that the portions of the website in the pictures speak for

themselves. JJCI otherwise denies the allegations in Paragraph 116.

               117.    JJCI admits that the pictures in Figures 32 and 34 appear to reflect

portions of the JJCI website. JJCI avers that the portions of the website in the pictures speak for

themselves. Paragraph 117 otherwise contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the remaining allegations in

Paragraph 117.

               118.    Paragraph 118 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

118.

               119.    Paragraph 119 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

119.




                                                16
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 17 of 28




               120.    Paragraph 120 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

120.

               121.    JJCI admits that the pictures in Figures 1-29 appear to reflect JJCI

products or portions of the JJCI website. JJCI avers that the contents of the pictures in Figures 1-

29 speak for themselves. JJCI otherwise denies the allegations in Paragraph 121.

               122.    JJCI denies the allegations in Paragraph 122.

               123.    Paragraph 123 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

123.

               124.    JJCI denies the allegations in Paragraph 124.

               125.    Paragraph 125 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

125.

               126.    Paragraph 126 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

126.

               127.    Paragraph 127 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

127.

               128.    Paragraph 128 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI lacks information or knowledge

sufficient to admit or deny the allegations in Paragraph 128.



                                                 17
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 18 of 28




                129.    [MISSING IN COMPLAINT]

                130.    Paragraph 130 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

130.

                131.    Paragraph 131 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

131.

                132.    Paragraph 132 contains legal conclusions to which no response is

required. JJCI respectfully refers the Court to D.C. Code §28-3905 for a full and accurate

recitation of its provisions.

                133.    Paragraph 133 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI lacks information or knowledge

sufficient to admit or deny the allegations in Paragraph 133.

                134.    Paragraph 134 contains legal conclusions to which no response is

required. JJCI respectfully refers the Court to D.C. Code §28-3905 for a full and accurate

recitation of its provisions.

                135.    Paragraph 135 contains legal conclusions to which no response is

required. JJCI respectfully refers the Court to D.C. Code §28-3905 for a full and accurate

recitation of its provisions.

                136.    Paragraph 136 contains no allegations directed to JJCI, and therefore no

response is required. To the extent a response is deemed required, JJCI lacks information or

knowledge sufficient to admit or deny the allegations in Paragraph 136.




                                                 18
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 19 of 28




                137.    Paragraph 137 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

137.

                138.    Paragraph 138 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI lacks information or knowledge

sufficient to admit or deny the allegations in Paragraph 138.

                139.    Paragraph 139 contains legal conclusions to which no response is

required. JJCI respectfully refers the Court to the cited court decision for a full and accurate

recitation of its holding.

                140.    Paragraph 140 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI lacks information or knowledge

sufficient to admit or deny the allegations in Paragraph 140.

                141.    JJCI admits that HLF purports to bring this action on its own behalf and

on behalf of the proposed class as defined in Paragraph 141. JJCI denies that the certification of

such a class is proper and otherwise denies the allegations in Paragraph 141.

                142.     JJCI admits that HLF purports to bring this action on its own behalf and

on behalf of the proposed class as defined in Paragraph 142. JJCI denies that the certification of

such a class is proper and otherwise denies the allegations in Paragraph 142.

                143.     Paragraph 143 contains legal conclusions and therefore no response is

required. To the extent a response is deemed required, JJCI lacks information or knowledge

sufficient to admit or deny the allegations in Paragraph 143.

                144.    Paragraph 144 contains legal conclusions to which no response is

required. To the extent a response is required, JJCI denies the allegations in Paragraph 144.



                                                 19
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 20 of 28




               145.   Paragraph 145 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI admits that the proposed class

contains hundreds, if not thousands, of members, but otherwise denies allegations in Paragraph

145.

               146.   Paragraph 146 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

146.

               147.   Paragraph 147 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

147.

               148.   Paragraph 148 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

148.

               149.   Paragraph 149 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

149.

               150.   Paragraph 150 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

150.

               151.   Paragraph 151 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

151.




                                               20
         Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 21 of 28




                152.    Paragraph 152 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

152.

                153.    Paragraph 153 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

153.

                154.    JJCI lacks information or knowledge sufficient to admit or deny the

allegations in Paragraph 154.

                155.    JJCI incorporates its responses and denials to the foregoing allegations in

response to Paragraph 155.

                156.    Paragraph 156 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

156.

                157.    Paragraph 157 contains legal conclusions to which no response is

required. JJCI respectfully refers the Court to D.C. Code § 28-3901 for a full and accurate

recitation of its provisions.

                158.    Paragraph 158 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

158.

                159.    Paragraph 159 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

159.




                                                 21
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 22 of 28




               160.   Paragraph 160 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

160.

               161.   JJCI denies the allegations in Paragraph 161.

               162.   Paragraph 162 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

162.

               163.   Paragraph 163 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

163.

               164.   JJCI incorporates its responses and denials to the foregoing allegations in

response to Paragraph 164.

               165.   Paragraph 165 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

165.

               166.   Paragraph 166 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

166.

               167.   Paragraph 167 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

167.




                                               22
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 23 of 28




               168.    Paragraph 168 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

168.

               169.    Paragraph 169 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

169.

               170.    JJCI lacks information or knowledge sufficient to admit or deny the

allegations in Paragraph 170. JJCI denies that disgorgement, restitution, or any other relief is

warranted or appropriate.

               171.    JJCI incorporates its responses and denials to the foregoing allegations in

response to Paragraph 171.

               172.    JJCI lacks information or knowledge sufficient to admit or deny the

allegations in Paragraph 172. JJCI denies that declaratory, injunctive, or any other relief is

warranted or appropriate.

               173.    Paragraph 173 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

173.

               174.    Paragraph 174 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

174.

               175.    JJCI incorporates its responses and denials to the foregoing allegations in

response to Paragraph 175.




                                                 23
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 24 of 28




               176.   Paragraph 176 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

176.

               177.   Paragraph 177 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

177.

               178.   Paragraph 178 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

178.

               179.   Paragraph 179 contains legal conclusions to which no response is

required. To the extent a response is deemed required, JJCI denies the allegations in Paragraph

179.

                                 AFFIRMATIVE DEFENSES

                                      FIRST DEFENSE
                                   (Failure to State a Claim)

               180.   The Complaint and each purported cause of action asserted therein fails to

state a claim upon which relief can be granted.

                                    SECOND DEFENSE
                             (Speculative or Uncertain Damages)

               181.   HLF fails to allege and cannot prove money damages with any degree of

certainty sufficient to permit recovery of such damages.




                                                  24
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 25 of 28




                                           THIRD DEFENSE
                                            (Legal Privilege)

                182.    JJCI’s actions were authorized by and/or compliant with applicable law,

including applicable regulations and decisions of the FDA and/or other relevant regulatory

agencies, and thus are not actionable.

                                       FOURTH DEFENSE
                                       (No Injunctive Relief)

                183.    To the extent HLF seeks injunctive relief, such relief is barred because

HLF and/or members of the asserted putative class cannot show imminent and irreparable harm

sufficient to warrant injunctive relief.

                                        FIFTH DEFENSE
                                     (No Personal Jurisdiction)

                184.    The Court lacks personal jurisdiction over J&J.

                                       SIXTH DEFENSE
                                (Preemption/Primary Jurisdiction)

                185.    The claims of the Complaint are barred, in whole or in part, by the

doctrines of preemption and/or primary jurisdiction.

                                      SEVENTH DEFENSE
                                     (Constitutional Privilege)

                186.    HLF’s claims are barred because the conduct complained of is speech

protected by the First Amendment of the United States Constitution.

                                       EIGHTH DEFENSE
                                  (Statute of Limitation/Laches)

                187.    HLF’s claims are barred in whole or in part by applicable statutes of

limitations or repose, and/or by the equitable doctrine of laches.




                                                  25
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 26 of 28




                                      NINTH DEFENSE
                                (No Extraterritorial Application)

               188.     The Complaint is barred, in whole or in part, to the extent that District of

Columbia statutory law does not apply extraterritorially, and/or that such extraterritorial

application would violate the Dormant Commerce Clause of the United States Constitution.

                                        TENTH DEFENSE
                                      (Compliance with Law)

               189.     The Complaint is barred, in whole or in part, because at all relevant times

JJCI complied in good faith with all applicable state and federal statues, rules, regulations, and

recommendations, as well as industry standards, concerning the labeling and marketing of the

products in question.

                                     ELEVENTH DEFENSE
                                    (Adequate Remedy at Law)

               190.     HLF’s claim for equitable relief is barred because HLF and/or members of

the putative class have an adequate remedy at law.

                                      TWELFTH DEFENSE
                                         (Due Process)

               191.     To the extent HLF and/or putative class members seek punitive damages

and/or penalty assessments, granting such relief on the facts of this case would violate the Due

Process Clause of the United States Constitution.

                        RESERVATION OF ADDITIONAL DEFENSES

               192.     JJCI reserves the right to raise any additional defenses, affirmative or

otherwise, and any counterclaims which may become apparent through discovery in the course

of this action. JJCI further reserves all legal defenses that it may have against the putative class

and against each member of the putative class.



                                                  26
        Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 27 of 28




       WHEREFORE, JJCI requests that judgment be entered in its favor and against Plaintiff;

that the Court find that this suit cannot be maintained as a class action; that this action be

dismissed with prejudice; and that JJCI be awarded its costs, attorneys’ fees and such other and

further relief as the Court may deem just and proper.




 Dated: June 30, 2022                     Respectfully submitted,

                                                 /s/ Anthony T. Pierce
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                                                  27
       Case 1:22-cv-01259-RCL Document 22 Filed 06/30/22 Page 28 of 28




                               CERTIFICATE OF SERVICE

              This is to certify that on June 30, 2022, the foregoing was served on all counsel of

record by operation of the Court’s CM/ECF system.


                                              /s/ Anthony T. Pierce
                                                   Anthony T. Pierce




                                               28
